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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


    IN RE: ZANTAC (RANITIDINE)                                                      MDL NO. 2924
    PRODUCTS LIABILITY                                                               20-MD-2924
    LITIGATION
                                                        JUDGE ROBIN L. ROSENBERG
                                               MAGISTRATE JUDGE BRUCE E. REINHART

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   THIS DOCUMENT RELATES TO: ALL CASES

                                    PRETRIAL ORDER # 46
                  Order on Production of Defendant Discovery on Other Defendants

          This Order applies to all cases pending in MDL No. 2924 and to all actions transferred to

   or directly filed in MDL No. 2924 after the date of this Order. This Order is entered at the request

   of Defendants and imposes obligations on Defendants only. Nothing in this Order modifies or

   abridges the protections set forth in the Confidentiality Order, Pretrial Order # 26 (“PTO # 26”),

   and nothing in this Order addresses the admissibility or use of documents at trial in these

   proceedings.

          To promote efficiencies in the production of documents on Defendants, concurrently with

   service of a document production on Plaintiffs, the producing Defendant shall provide a copy of

   the transmittal letter to other Defendants by submitting the letter to the following email address:

   xServiceZantac@arnoldporter.com. The producing Defendant also shall concurrently provide the

   production itself to other Defendants in the litigation who have made a standing request for such

   productions in writing.      Standing requests for productions should be submitted to the

   xServiceZantac@arnoldporter.com email address. Any Defendant who does not have a standing

   request may subsequently request in writing any individual production, in which case the

   producing Defendant shall promptly provide the production to the requesting Defendant.
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   Defendants are to confer in advance of productions with respect to which Defendants request

   access to which productions and the method by which the producing Defendant will provide the

   documents to the requesting Defendants.

           If any Defendant objects to making its document production to Plaintiffs available to any

   requesting Defendant based on the Confidential Information or Highly Confidential Information

   provided in the production, the producing Defendant and the requesting Defendant shall meet and

   confer in an effort to resolve the dispute. The producing Defendant may seek relief from the Court

   if the meet and confer is unsuccessful.

           This Order does not require any Distributor Defendant to produce any Confidential

   Information or Highly Confidential Information to another Distributor Defendant. 1 Confidential

   Information or Highly Confidential Information as set forth in PTO # 26 produced by one

   Distributor Defendant may not be produced to another Distributor Defendant absent written

   consent from the producing Distributor Defendant. The use of such documents during depositions

   shall be governed by PTO # 26, any deposition protocols entered by the Court, and any other such

   orders to the extent they address the use of documents during depositions.

           DONE and ORDERED in Chambers, West Palm Beach, Florida, this 29th day of

   September, 2020.



                                                       _______________________________________
                                                       ROBIN L. ROSENBERG
                                                       UNITED STATES DISTRICT JUDGE




   1
    The current Distributor Defendants are Cardinal Health, Inc., McKesson Corporation, and AmerisourceBergen
   Corporation.

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